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EXHIBIT “A”

EXHIBIT “A”

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(c/TA crow Juorcm L) ‘s°`°""'“ s'b‘°`£ `°Q"'£’S mi ‘ ` !*5
Nc)'rtce Td QEFENDANT: v,“. . t ~lu'Ut'l`r
(Avrso Al, oenro~oooo).» Sl'tll :Jn'_`t;..~ l;l;zlllt ¥. CA
_ 0 1 ` STEMS, INC.; and DOES t co 20, .'

D\TCLUSIVB

VOU l-`\RE EBEING SUED BY PLA¥NT|FF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

GINNY EDMUN.DS

 

 

;lm*lcEl ‘r'ou havo been sood. The court moy dectdo analnst you wllhoul your being heard unless you respond ‘.~ri§\!n 30 days. Ftaad the lnlom)otlon
alovl.

You novo 30 cr\LEl\'DAR DAYS alter this summons and ln_nat ape.~s z.'o servad o:‘. you to lite n \vrl\\en response al lists court and have a copy
served on the ptolr.tlll. ls lotln.r`or phone caltwllt nol.protoot you. ourwrltten'response must bn m proper legal term _tl you want the court m hear your
msu. Thclc may bn a court form that you can use for your response. Ynu con l`rnd these court forms and more ln(ormallon at the C'otllomta Courts
Onltnc Selt-Hetp center (\\w.'.~.covrllnlc.m,gov/ssl.?relp),your county law tlbrar‘/, or the coonhuusu named y¢u, wynn carmel pay the mm reel ask
the court clerk torn faa waller torm. llyou do nol trte your lesponso on llmn, you may lose the case by delaull, and your \vages. money. and properly
may be taken without turshor warning l:om the cou.'l.

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referral verv.‘<>e. ll yovc=mnol allard an alto:ney, you may be ollglbte for tree tsgal'serv`mes from o nonprolit legal smvlca$ program 'feu non locate
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(nwo'.courilm?).ca.gov/selllrolp). or b'/ contacting yovr local court or county bar association No'ra: me conn has a statutory linn lorwalvod lees and
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en formula lepnlcormclo 51 doses quo procesan w ease on ls-co/le. Esposllzla quo hara vr. lormu,'arlo qua usledpueclo usarpara xu raspl/csia.
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pogsrolgmvamen de le comr anlcs de quo la code pueda dcsccl)ar el caso.

 

 

 

 

 

The name and address cl lho court ls: l . ‘ ` c/,~m¢mms'm _
(Elnombre '/dlrvcclén do la code es):» Supertor Court ofSan DtegQ.- ‘§`9’,“353'§'_’3008601O_CL~NF_CTL `
330 W,cst Broad\vay
San Diego, CA 92101'
TT)e namo. eddress, and telephone number olptaln€lt‘s attemay‘ or ptotntlll without an otlomey, ls:
) (EI nombre, la direccr'dn y a/nL`/mero de leléfono del ahogado del demandanle, o del demandarr!e que no llone abugado, es).'

'l`odd Priedman (SBN 216752), 369 S. Dohsn)' Dr, Ste 415,.BcvcrlyHills, CA 902'1!, 877-206~4741

DATE: Ctert<, by § gla§ , Deputy

(F clra,l NOV 2 7 ?n I? (Secrslarlo) gm m ' \' 'B§?/ (/lofiunlo)

l`Forpmol of service ofllrls §u/'n?mms, usa Frqc,l cl SeP/loc ot Snmmons llorm POS~£HO).) v

lPam pruobs do a))lrego do usta cllslldn use el formula(r‘o Fxool ul Servlr,e ol Summons. lPOS»m'O}).
-~__---~'L----»- NOT)CE TO THE FERSCN SERVEO: Yotl are solved

15€"” 1. l:] as anlndl':lduatdetendant.

?.. {:‘_‘_] as the person sved under the nctlllous name of fspac:`fy):

Natiog\al Enterprise Systems, tnc.
“*”"""’--""..."."`,____

 

3, l:);] on behalf ot (speclly): \~
owen §§ con moon (cmporanon) [:j cap olson rmtnur)
[:_l CCP 418.20 (dcfuncl corporallon) [::] CCP 416.70 (conservatee)

[:"_"] CCP 41.€5.40 (assodallon or partnersht,o) { } GCP 416.90 (nutho.'tzeo‘ person}

l::l other (speclI;/).‘
-»-~“------"-~' 4. [:] by personal delivery on {dalo):

 

 

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To dd M. Fz‘tedman (216752}

Nicb olas J. B ontrager (252114)

Suren N. `Weerztsuriya (278512)

Law Offices ofTocld M. Friedman, P.C.

369 S. Doheuy Dr. #415

`Beverly Hills, CA 90211

l’hone: 877-206»4'741

Fax: 866-633-0228
Li’riedman@a€£orneysforco)nsum ers.co):o
ab outrager@ottorneysforconsum ers.com
swo<',rasuri.ya@att’omoysforconsunoers.com
Attorney for }?_lax'n&tff

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SAN Ull.'. 'zu`

SUPERIOR CO`URT OF 'I`HE_S $’£A'_I`E OF CALIFORNIA
FOR THE COUNTY O'f" SAI\' DIEG`O " " -' ~
LII\'HTED JUR`[S})ICT].ON

GINNY EDMUNDS,
le`ntif‘f,
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NATIONAL ENTERJ>R:SE SYST`EMS, ~
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ease N°- 37~201zoonaeolo-cl_»wp.@u
CONH’LA`INT FOR WOLATION

OF ROSEN'IT{AL FAIR DEBT
COLLECTION PRACTICES ACT AND
FEDFRAL FAIR DEBT COLLECT;ON '
PRACTICES ACT ‘ '

(!__\m.ount| not to exceed 310,0'00) _

1. Viotation ofRosen'chal Fail' Deb`t' -
Col!eotion Pract:ices.Act . .

2. Vi.ota’rion ofFair D'ob.l~Colle<;lion ‘
Practices Act

;. INTRGI)UCTION

This is an aclion for damages brought by an individual consumer for Defendant’s

violations of the Rosenthal Fatz' Debt Co!tection ?racticcs Aot., Cal Ctv Code, §1788, er szg.

(hereinaftcr "R.FDCPA") and lite Fajx Debt Collectlon Practicos Ac'r, 15 U.S.C. §1692, el seq.

(hcreinzt{ler “FDCPA”), both of vt.rhich prohibit debt collectors from engaging in abusive,

deceptt‘/e, and unfair practices.

Comp!n!nl.“ l

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II. PART)TES

2. Pialnliif, Ginny Eclmunds ("Plainlii?c”), is n natural person residing in San Diogo
County in the stale of Califomia, and is a "consumer" as defined by the FDCPA, t:'> U.S.C.
§1692a(3) and is a“deblor” as defined by Cal Civ Code §1738.2(11).

3. Al all relevant times herein, Defendmtt, Nalional Enlerpriso Systems, luc.,
(“Defendant”) was a company engaged, by use of the mails and telephone, in the business of
collecting a deb't"irom PlaintiH which quall§t'es"as"a “cie'ot," ns ééflnecl by' 1`5 U.S.C.»§l€%'a($j,
and a “consumor debt,” as defined by Cal Civ Code §1788.2(£), Defenciant regularly attempts
lo collect_debis alleged i:o be due another, and therefore is a “debt oollootof’ as defined by the
F,DC:PA, 15 r\r.s.c. §'1692@»<_6), md`RPDcPA, eat civ code §wss.z<¢).

4, Plainlift' does not know the fmc names and cnpacilios, whether corporalo,
partnership, associale, individual or oll>orwisc, of Dofendanls sued heroin as Doe,s l through-.;O,
inclusii'o,. and therefore names ~saidl,Det-`onda`rlis_'._under .~pro-visions of. Seoiion 474 zo'f.' the

Califomia`€ode of CivilProce.duxe'

l.through ?.O'am in some manner'rc_sponsible"for aois_,; occurrences and transactions-set forth
neer and are legally liath 10 manion k

l 6. Ai all times mentioned, oaohof' the defendants,' lWheihrez` actually named or
iici:iiiously namecl, Was the agent of the other defendanls, \-vhether actually named or lictilio>usly
namccl, and each other and was at all times acting Wil;hin the purpose and scope ofsucb agencyl
Plnir\.lil=f is informed and believes, and on that basis allegcs, that at all times mentioned herein
each defendanl, \\'hel'ller actually or iictiliously named Was the principai, agent or employee of

each other defendant, and in acting as such principal, or within lhc course and scope of such

Ccmplnlnt ~ ?.

 

 

 

5 -. Plaintiffls inferrqu and~boiicves, and on that'_basis alleges-thai Dofendants:Does_ '

 

 

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l employment or ugency, took some part in the acts end omissions hereinafter set forth by reason

l of which each defendant is liable ,to plaintiff for the relief prayed for herein At all times
3

relevant hereln, defendants rali£ed the unlawful conduct of die other defendants, who Wcre
4 .
5 actlog willie the scope of their agency or employman by accepting the beneiits of the

6 transaction(s) with knowledge of die wrongdoing or olherwise by failure lo repudiate due

7 ml sconduct.

g m escroch ALLEGATIONS' ” '
9 .
m 7. At Vaxious and multiple times prior to the filing of the instant complain§

including within the one year preceding the filing of_ this compla`ml, Defendanl contacted

42 pla;m;£€§n an aeempl to coll,ecl an alleged outstanding debt

.13' ' ' 8, Defendan? contacted Plaintiff at (6‘1$) 853-823 6,_-ln connection wills an attempt
w .`
lo collect an alleged debl owed by Plaiuliff.
15 _ _
16 ` 9. On average Plainliff received more than t\a’o<'.oollec'don¢callsfrom Defendanl~'~ 4 ' ~

17 every clay` m col necdon with an attempt to collect an alleged outstanding debt
13 " 105 ` O'n average, `Plainliff. received more lhan ten collection cells iiom. Defeodan'c

’ every weelc` m connection with en allempt -lo collect an alleged outstanding debt

 

20 .
ll. Dct`codant contacted Plaintiff at times and placed dial were kno\l\_'o to be' '

21

22 inconvenient and with such frequency al to constitute harassment,_zmd.cr 'lhe cl.rcumslances,

13 including but not limited to, multiple calls per week.

24 12.. Defcnd ant’ s conduct violated the I"DCPA and the REDCPA in mulliple Ways,
25
including but not limited lo:
26
'.`~.7
28 a. Engaging m conduct the natural consequence of which is to harass,

oppress, or abuse Pla`mfi§, including (§ 1692d});

Cornplainl » 3

 

 

 

 

 

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b. Threa'cening to take nn notion agair§st Pla$ntiff that cannot be
legaliy taken or that was not actual!y intended to be taken, including
H\reaiening(§ 1692@(5));

c. Caus'mg a Telephone to ring repeatedly or continuously to annoy
Plainiiff(Ca! Civ Code§ 1788.11(€!));

d. Communioating, by telephone er in person, With Plaintiff With
such frequency as to be unreasonable and to constitute an harassment to
P\aintiff under the circumstances (Ca1 Civ Code § 1788.11(€))',

§. Causing, Plaihtiffs‘ ` tel`epli'oiae 'to rihg":é§'e§’cedlj" er `contir`aiié`usiy`
with infen_t to harass, annoy er abuse P]aintiff(§`? 692d(5));and

f. Conmunicating with 'P}nintiff at times or places which were
known or should have been knov.'n to be inconvenient for Plaintiff, (§
1692c(a)(l)).

13. As a. resu!t of the above violations of ’thc PDCPA and RFDCPA, Plainfiff'

suffered and continues to suffer injury ?o Plainti§’s feelings, personal h\maili:¢ltio)cx1

embarrassment, mental anguish and emotional distress,' and Dcfendent is liable to Pla)‘n*n`ff-for :.

?lainlif)?s actuuf damgcs, matut'ory‘dmv.ges, and'.co'sts: and attorneys fees.' ' ~ '

com\"r I= WOL.‘\TI.<)N oFRGSENTm
mm mem QQLLEC:L‘TON).>RACTICES ACT

 

 

 

 

 

\ l '11§...- - 1’!uintiff:veincorporates-by reference a§] ofthe'pfeccding‘paragraphs: `
v15. ‘ To the extent that Defendant‘s actions, counted above, violated the RFDCP`A,.
those actions were done knowingly agd willfu]§y.
?§AYER roe REL.IEF

\VHBREFORE; Plaiuti'ff respcettblly prays that judgment be entered against Defendant

for the foilowing:
./\. Acwal damages;
]`s. Stat\stoxy damages for willful and negligent violations;
C. Costs and reasonable attorneys fees; and
D. 'For such ethan and further relief as may be jus? and proper.

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CO`UN’,I` II:' \"IOL)&TION OF FAIR DEBT
COLLECTIO`N l’}.‘\AC'l`lCES ACT

16. Plainfiz"f reincorporates by reference a\] of the preceding paragraphs.
J?RAYER lTOR RELIEF
'\VHEREFOR.`E, Pialntiff rcspectfuil_\.' prays thatjudgmcni' be entered against Defendant
for the fci !owi ng: n
Actua\ damages; _
' St`awtory damages;

Cosis and seasonabie m"s(mney’ fees; and,
lor sue b other and fuuhcz reticf as may bejus_t and proper.

wo??

}."LAIN'.CD?F HEREBY REOUESTS A 'IRIAI.» BY JUY

   
   

Respectfu\!y submitted this Novcmber 1 -012.

By:
Todq/ 1\1 Fricdm .
La\\' O£Gces of’l`ocid M. §ricdman, P. C
Altomey for Plaimiff-. .

Comph\!m - 5

 

 

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PROOF OF SERVICE

STATE OF CALIFORNIA )
) ss.
COUNTY OF LOS ANGELES )

I am employed in thc County of Los Angcles, Statc of California.

l am over the age of eighteen years and not a party to the within action. My business address
is 5959 W. Ccntury Blvd., Suite 1214, Los Angcles, CA 90045.

On January 9, 2013, l served the foregoing document(s) described as: CIVIL COVER
SHEET; NOTICE OF REMOVAL on all interested parties in this action by placing a true copy
thereof enclosed in a Sealed envelope addressed as follows:

SEE ATTACHED SERVICE LIST

[X] BY MAIL: I Scalcd such cnvelopc(s) and placed it (thcm) for collection and mailing on this
date following the ordinary business practices of Carlson & Mcsscr LLP. l am "readily familiar"
with the business practices of Carlson & Mcsser LLP for collection and processing of
correspondence for mailing With the Unitcd Statcs Postal Service. Such correspondence would
be deposited with the Unitcd States Postal Scrv:icc at Los Angelcs, Californla this same day in
the ordinary course of business with postage thereon fully prepaid

[ ] ELECTRONIC MAIL: Based on Court order or an agreement of the parties to accept Scrvice
by e-mail or electronic transmission, I caused the Said documents to bc sent to the persons at the
electronic mail addresses listed below (Scc attached Servicc list). I did not receive within a
reasonable time after the transmission, any electronic message or other indication that the
transmission was unsuccessful.

[ ] PERSONAL SERVICE BY HAND: I personally Servcd Such document to address Stated on
POS Service List.

[ ] BY FACSIMILE- l transmitted via telecopicr machine Such document to the offices of the
addressees

[ ] (STATE) - I declare under penalty of perjury under the laws of thc State of Californla that the
above is true and correct.

[X] (FEDERAL) - l declare that I am employed in the offlcc of a member of the bar of this court
at whose direction the service was made.

Executed this 9th day of January, 2013, at Los Angelcs, C llfornia.

root day

Kyh'ryn A%Brown

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PROOF OF SERVICE

 

 

Case

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SERVICE LIST
Edmunds. Ginnv v. National Enterprise Svstems. Inc.

 

File No.: 07373.00
Todd M. Friedman Attorneys for Plaintiff
Nicho_las J. Bontrager GINNY EDMUNDS
Suren N. Weerasuriya
LAW OFFICES OF TODD M.
FRIEDMAN, P.C.

369 S. Doheny Drive, Suite 415

Beverly Hills, California 9021 l

Tele: (877) 206-4741

Fax: (866) 633-0228
tfriedman@attorneysforconsumers.com
nbontrager@attorneysforconsumers.com
sweerasuriya@attorneysforconsumers.com

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PROOF OF SERVICE

 

 

